            CaseOrder
% A 0 247 (02108) 8:03-cr-00288-SDM-AEP                Document 633
                      Regarding Motion for Sentence Reduction           Filed 03/21/08 Page 1 of 1 PageID 2559

                                             UNITED STATES DISTRICT COURT
                                                                for the
                                                        Middle District of Florida

          UNITED STATES OF AMERICA

                                   v.                               Case No:         8:03-cr-288-T-23MAP
                                                                    USM NO:          41285-018
                    BRENT CLARKE

Date of Previous Judgment: April 6,2004                             Defendant's Attorney: Tracy Dreispul, afpd


              Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. 5 3582(c)(2)

The parties stipulate (Doc. 631) that, under 18 U.S.C. § 3582(c)(2) a reduction of the term of imprisonment imposed
based on a guideline sentencing range that has subsequently been lowered and made retroactive by the United
States Sentencing Commission pursuant to 28 U.S.C. 3 994(u) is appropriate. Having reviewed the papers,

IT IS ORDERED that the stipulation is:

0         DENIED.
5l       APPROVED and the defendant's previously imposed sentence of imprisonment (as reflected in the last
         judgment issued) of ninety-seven (97) months is reduced to SEVENTY-EIGHT (78) MONTHS.

I. COURT DETERMINATION OF GUIDELINE RANGE (prior to any departures)

Previous Offense Level:                      -
                                             33                     Amended Offense Level:              -
                                                                                                        31
Criminal History Category:                    I                     Criminal History Category:          -I
Previous Guideline Range:                    135 to 168 months      Amended Guideline Range:            108 to 135 months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
         The reduced sentence is within the amended guideline range.
         The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at
         the time of sentencing as a result of a departure, and the reduced sentence is comparably less than the
         amended guideline range.
0        Other (explain):


Ill. ADDITIONAL COMMENTS

Except as provided above, all provisions of the April 6 , 2004, judgment shall remain in effect.


ORDERED in Tampa, Florida, on                            - w A J L &2       w                       , 2008.




Effective Date:                                                              STEVEN D. MERRYDAY
            (if different from order date)                               UNITED STATES DISTRICT JUDGE
